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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                             GENERAL ORDER 19-0004

                          RESETTING OF DEADLINES
          IN CIVIL MATTERS INVOLVING THE UNITED STATES AS A PARTY

        IT APPEARING THAT as a result of the partial federal government shutdown, this Court
amended General Order 18-0028 suspending as of December 21, 2018, all civil litigation in
which the United States of America, its agencies, its officers, or employees were parties, with the
stated intention of clarifying schedules in such cases upon the expiration of the lapse in
appropriations; and

       IT FURTHER APPEARING THAT appropriations having been restored to fund the
Department of Justice and other Executive Branch agencies, with employees beginning to report
for work beginning on January 28, 2019; accordingly

         IT IS THEREFORE ORDERED that the stay entered by General Order 18-0028 is
hereby lifted, and any and all deadlines in the affected civil litigation (whether established by
order, rule, or agreement.), including but not limited to any scheduled discovery and pleading
dates, are extended by 42 days. The Court warns litigants that this General Order does not
purport to affect rights to or deadlines concerning appeal from any decision of this Court. Any
litigant affected by this General Order may seek relief from the order by motion. Trial dates in
the affected cases will stand, although they may need to be adjusted in individual cases to
account for the extension of other dates. The Court may, in any particular case, vary the effect or
operation of this General Order by a separate ruling.

      The Clerk of Court shall distribute this General Order to parties impacted by Amended
General Order 18-0028:

       (a)     by electronic service to all registered CM/ECF users;

       (b)     by first-class mail to unregistered civil litigants, including pro se litigants, and to
               attorneys pending pro hac vice admission; and

       (c)     by posting the General Order on the Court’s public website.

                                               ENTER:
                                               FOR THE COURT




                                              Rubén Castillo
                                              Chief District Judge
Dated in Chicago, Illinois this 28th day or January, 2019.
